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     UNITED STATES DISTRICT COURT                  liquidation of Bio-Med itself.
     SOUTHERN DISTRICT OF GEORGIA
          SAVANNAH DIVISION
                                                       Since the receivership began, the
                                                   Government has consistently certified that it
UNITED STATES                                      has reviewed the Receiver’s/Monitor’s fee
                                                   applications before moving the Court to
v.                      405CR059
                                                   approve same. See, e.g., doc. # 1145. In the
MARTIN J. BRADLEY, III, et. al.
                                                   face of the Government’s last compensation-
                                                   approval motion, doc. # 1164, the Court
                                                   expressed its concern about the expenses
                   ORDER                           incurred thus far. It therefore directed the
                                                   Receiver and Monitor to jointly file: (1) a
I. BACKGROUND                                      description of the alleged assets that the
                                                   Receiver is attempting to liquidate and her
    In this complex criminal RICO                  opinion of the probable success of these
prosecution stemming from a                        efforts; and (2) a summary of the proposed
prescription-drug-based fraud scheme, the          work necessary to maintain the receivership
Court appointed a receiver and a monitor to        through the end of this year, including an
facilitate the forfeiture of tens of millions of   identification of what work is “cost-benefit”
dollars worth of convicted defendants’ assets      necessary, plus a reasonable estimate of the
(including those of Bio-Med Plus, Inc.) to the     cost for accomplishing same. Doc. # 1172.
United States. U.S. v. Bradley, 2008 WL
228064 (S.D.Ga. 1/25/08) (unpublished)             II. ANALYSIS
(recounting case’s history before extending
the receivership until defendants’ direct             A. Motion To Seal
appeals are exhausted); doc. # 1107.
                                                       The Receiver and Monitor have complied
    The receivership began in 2006, doc. ##        but, because their filing contains litigation
599, 790, and has cost nearly $2.8 million         strategy ( e.g., collection-action
thus far. Doc. # 1173-2 at 11 (9/3/08              considerations) and similarly sensitive
Monitor’s Report No. 23 at 9); see also id. at     information, they move for leave to file it
10 (Monitor’s $694,400 costs as of 7/31/08).       under seal. Doc. # 1181. They have not show
In fact, in 2007 the Court expressly noted the     good cause within the meaning of U.S. v.
receivership’s significant cost and hefty          Bradley, 2007 WL 1464058 at * 10 (S.D.Ga.
lawyer/accountant fees. U.S. v. Bradley, 2007      5/17/07) (unpublished), unsealing objections
WL 4224963 at * 1 (S.D.Ga. 11/28/07)               overruled, U.S. v. Bradley, 2007 WL
(unpublished). The Court later stayed              1703232 (S.D.Ga. 6/11/07) (unpublished);
forfeiture-collection of some disputed assets      Snethen v. Board of Public Educ. for the City
pending appeal. Bradley, 2008 WL 228064 at         of Savannah and the County of Chatham,
* 8 (“the Movants have worked out a                2007 WL 2345247 at * 1 (S.D.Ga. 8/15/07)
‘standstill’ Consent Order ... essentially         (unpublished), so motion # 1181 is denied.
locking down moneys and assets pending             Claiming interested party status, Norma
resolution of the pending appeals in this          Bradley requests service on this filing. Doc.
case”); id. at * 14 (implementing it). Much of     # 1182. This request is moot because the
the complication and cost stems from the           Court is filing the materials unsealed and
                                                   Norma may thus access it.
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    B. Conflict of Interest                                   pharmaceuticals discussed, inter alia, in U.S.
                                                              v. Bradley, 2007 WL 3046516 at * (S.D.Ga.
   The Court also noted the Monitor’s                         10/17/07) (unpublished). Doc. ## 1177, 1178.
constant illumination of a claimed Receiver
conflict of interest. Doc. # 1172; see also doc.                  Maria Carmen Bradley and Martin J.
# 1173-2 at 3. It thus directed the                           Bradley III oppose destruction, accusing the
Government to respond. Doc. # 1172. It did.                   Receiver of fanciful doublespeak and
Doc. # 1180. It believes that no conflict                     misleading semantics. Doc. # 1183. They
exists. Id. The Monitor need not further                      step-by-step recount what they consider to be
report on this particular conflict.                           a blatantly wasteful avoidance of solid sale
                                                              possibilities, including a $52,000 possibility
    C. PDMA Inventory                                         noted by independent counsel,2 then complain
                                                              of the Receiver’s mendacious misuse of
    Despite the fact that this case has been on               terms:
appeal since 2006, various motions continue
to trickle in. The Receiver, joined by the                         By this point, the Receiver appears to
Government, renews her previous motion for                         be following “Lewis Carroll’s
leave to destroy the Prescription Drug                             class[ic] advice on the construction of
Marketing Act (PDMA) 1 regulated                                   language: “‘When I use a word,’
                                                                   Humpty Dumpty said, in rather a
                                                                   scornful tone, ‘it means just what I
   1 Under the Prescription Drug Marketing Act

(PDMA),
                                                              enjoined an implementing regulation, 467 F.Supp.2d at
         [e]ach person who is engaged in the                  296 but essentially said that for public safety reasons
         wholesale distribution of a drug                     everyone, whether an authorized or an unauthorized
         subject to subsection (b) of this                    distributor (like Bio-Med), must prove a drug's pedigree
         section and who is not the                           at least as far back to the authorized distributor through
         manufacturer or an authorized                        which the drug passed. Doc. # 903 at 7.
         distributor of record of such drug
                                                               2
         shall, before each wholesale                              They write:
         distribution of such drug ... provide
         to the person who receives the drug                            Even though [outside counsel, as
         a statement ... identifying each prior                         hired by the Receiver,] King &
         sale, purchase, or trade of such drug                          Spalding[,] determined that “$52,070
         (including the date of the transaction                         worth of the . . . [subject inventory
         and the names and addresses of all                             could] ‘possibly’ be sold” (Doc. #
         parties to the transaction).                                   1177 at 8), the Government,
                                                                        confused fundamentally about the
21 U.S.C. § 353(e)(1)(A). "The PDMA's purpose is to                     very subject matter of the Receiver’s
protect the American consumer from tainted                              motion, declared that “[t]he
pharmaceuticals. The pedigree requirement was                           Government continues to believe the
created to show where wholesale distributors were                       pharmaceuticals cannot and should
obtaining their drugs." RxUSA Wholesale, Inc. v. Dep 't                 not be marketed for sale.” (Doc. #
of Health & Human Servs., 467 F.Supp.2d 285, 290                        1178 at 2).
(E.D.N.Y. 2006), aff’d, Department of Health and
Human Services v. RxUSA Wholesale, Inc., 2008 WL              Doc. # 1183 at 6. The Monitor essentially corroborates
2699935 (2nd Cir. 7/10/08) (unpublished). The RxUSA           the $52,000 assertion. Doc. # 1173-2 at screen-pages
district court addressed a constitutional issue and           13-14.

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    choose it to mean—neither more nor                       so within 15 days from the date this Order is
    less.’” Tenn. Valley Auth. v. Hill, 437                  served. Otherwise, the Court will be inclined
    U.S. 153, 173 n.18 (1978) (quoting                       to grant the Receiver’s motion.
    Lewis Carroll, Through the Looking
    Glass, in The Complete Works of                              D. Forfeiture Motion
    Lewis Carroll 196 (1939)). In doing
    so, and after spending more than                             Non-party Novis Pharmaceuticals, LLC
    $20,000 not to assess the salability of                  (Novis) moves the Court for leave to abandon
    disputed pharmaceuticals worth                           receivership property stored without Novis’s
    potentially $650,000 (Doc. # 1177-2                      permission within its leased premises. Doc. #
    at 1–3), the Receiver proposes nothing                   1170. In essence, it wound up (by way of its
    less than a new litigation spree.                        property purchase from the Receiver)
                                                             voluntarily storing part of the above-
Doc. # 1183 at 6.                                            mentioned “PDMA inventory.” It no longer
                                                             wants to give the Receiver that free ride, has
    In short, the Bradleys accuse the Receiver               invoiced her $4,500 for storage costs (the
of rank incompetence in her attempts to                      Receiver disputes the validity of that invoice,
dispose of these assets. Id. at 6-7. And they                see doc. # 1179 at 3), and demands ongoing
highlight the relatively low storage cost                    storage fees. See also doc. # 1173-2 at screen
($750/month) pending appeal in insisting that                pages 13-14 (Monitor’s Report).
the Receiver seeks “to convert more than
$650,000 worth of salable pharmaceutical                         The Receiver does not oppose the central
drugs into contraband (Doc. # 891 at 14), then               thrust of Novis’s motion, given that
destroy (Doc. # 875 at 3–4) the subject                      destruction of the PDMA drugs will moot the
inventory based on inoperative, hence                        issue. Doc. # 1179 at 4. The Court DEFERS
nonexistent regulations.” Doc. # 1183 at 2.                  ruling on Novis’s motion (# 1170) until it
                                                             receives the additional “PDMA” briefing
    Those are powerful assertions to say the                 discussed supra. Novis may renew its
least. Within 15 days of the date this Order is              “abandonment” motion following this Court’s
served, the Government and the Receiver                      follow-up ruling.
shall file response briefs. Meanwhile, the
Bradleys are invited to brief the Court on how                   E. Real Property Sale
they might find a buyer and thus foment a sale
that complies with all applicable law. If the                    The Court grants the Receiver’s
Receiver in fact is wasting this asset, then the             unopposed motion for approval of the sale of
Bradleys ought to be able to cite to a                       the “Interland Associates, Inc.” property.
legitimate disposition method and sale                       Doc. # 1174. The Court will reach the just-
possibility. 3 And they ought to be able to do               filed motion for approval of sale of other
                                                             Interland Associates, Inc. property, doc. #
                                                             1185, after the time to respond to it expires (it
   3 The Bradleys insist that the storage costs are          obviously would expedite these motions if the
relatively minimal, and that these drugs constitute an
asset that, should the main appeal in this case be
successful, could conceivably come back to them. The         destruction of the drugs conditioned upon the Bradleys’
Court will entertain a Bradley motion to stay the            payment of all storage costs from 10/1/08-onwards.

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movant would indicate that he or she has
contacted all adversaries and ascertained
whether there is any opposition).

III. CONCLUSION

    The Court GRANTS the Receiver’s
unopposed motion, doc. # 1174, for court
approval of the sale of the “Interland
Associates, Inc.” property. The parties are
directed to comply with the “PDMA” briefing
schedule set forth in Part II(C) supra. Next,
the Court DEFERS on Novis
Pharmaceuticals, LLC’s motion, doc. # 1170,
until it receives the additional “PDMA”
briefing. Finally, the Court DENIES sealing
motion # 1181 (hence, it DENIES motion #
1182 as moot) and will not accept any further
sealing motions in this case.

   This 6 day of October, 2008.




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B. AVANT EDENFIELD, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
